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 9
                            UNITED STATES DISTRICT COURT
10                        SOUTHERN DISTRICT OF CALIFORNIA
11
     MARTA L CERON DE OROZCO and               Case No.: 3:18-CV-02397-JLS-JLB
12   EMMA BARCENAS, individually and
13   on behalf of all similarly situated       MEMORANDUM OF POINTS AND
     employees of Defendants in the State of   AUTHORITIES IN SUPPORT OF
14   California,                               MOTION FOR FINAL APPROVAL
15                                             OF CLASS AND COLLECTIVE
                 Plaintiff,                    ACTION SETTLEMENT
16

17         v.                                  Date: December 17, 2020
                                               Time: 1:30 p.m.
18
     FLAGSHIP FACILITY SERVICES,               Dept.: 4D
19   INC.; and DOES 1 THROUGH 50,              Judge: Hon. Janis L. Sammartino
     inclusive,
20
                                               [IMAGED FILE]
                 Defendants.
21

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                               1     I.       INTRODUCTION
                               2           On July 22, 2020, this Court granted preliminary approval of a $2,000,000 non-
                               3 reversionary class, collective, and Private Attorney General Act of 2004, Cal. Labor Code

                               4 § 2698 et seq. (“PAGA”) settlement between Plaintiffs Marta L. Ceron De Orozco and

                               5 Emma        Barcenas (“Plaintiffs”) and Defendant Flagship Facility Services, Inc.
                               6 (“Defendant”). Plaintiffs entered into the Settlement on behalf of themselves and other

                               7 similarly situated individuals and/or aggrieved janitorial employees who worked for

                               8 Defendant in California from August 13, 2014 through January 30, 2020 (the “Class

                               9 Period”). The notice procedures ordered by the Court were properly carried out and the

                              10 results of those procedures indicate that there have been no oppositions to or requests for

                              11 exclusion from the Settlement. Now, consistent with the Court’s Preliminary Approval
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                              12 Order (ECF No. 44) (1) Granting Preliminary Approval of Class Action Settlement, (2)

                              13 Provisionally Certifying Settlement Class, (3) Approving Notice and Notice Plan, (4)

                              14 Appointing Class Counsel and Class Representative, (5) Appointing Settlement

                              15 Administrator, and (6) Setting Schedule for Final Approval Process (“Preliminary

                              16 Approval Order”)), and the Court’s Order Granting the Parties’ Joint Ex Parte Motion to

                              17 Modify the Preliminary Approval Order (ECF No. 46), and because the Settlement has

                              18 received no objections from the Class, Plaintiffs request that the Court grant final approval
                              19 of the Settlement.

                              20     II.      RULE 23 CERTIFICATION
                              21              a. The Court Should Affirm Its Certification of the Settlement Class
                              22           Before granting final approval of a class action settlement agreement, the Court must
                              23 first determine whether the proposed class can be certified. Amchem Prods. v. Windsor,

                              24 521 U.S. 591, 620 (1997). In the present case, the Court previously certified the settlement

                              25 class for purposes of settlement only. (Prelim. Approval Order, at 5-11.) No additional facts

                              26 have come to light to disturb the logic of that Order.

                              27           To achieve certification, a proposed class must meet the following requirements:
                              28              (1) the class is so numerous that joinder of all members is
                                                                                  1
                                    MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT OF MOTION FOR FINAL APPROVAL
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                               1              impracticable; (2) there are questions of law or fact common to the
                                              class; (3) the claims or defenses of the representative parties are
                               2              typical of the claims or defenses of the class; and (4) the
                               3              representative parties will fairly and adequately protect the interest
                                              of the class.
                               4
                                   (Fed. R. Civ. P. 23(a).) Additionally, a class action must meet one of the conditions outlined
                               5
                                   in Rule 23(b), such as the condition that “questions of law or fact common to class members
                               6
                                   predominate over any questions affecting only individual members, and that a class action
                               7
                                   is superior to other available methods for fairly and efficiently adjudicating the
                               8
                                   controversy.” (Fed. R. Civ. P. 23(b)(3).)
                               9
                                          In its Preliminary Approval Order, this Court determined that the numerosity
                              10
                                   requirement was satisfied, as there are now 6,922 Class Members who have been identified,
                              11
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                                   and joinder of all members would be impractical. (Declaration of Graham S.P. Hollis in
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                              12
                                   Support of Plaintiffs’ Motion for Final Approval of Class and Collective Action Settlement
                              13
                                   (“Hollis Decl.”), at ¶ 32; Prelim Approval Order, at p. 6.) This Court also indicated that the
                              14
                                   commonality requirement was satisfied, because the workplace policies at issue in this case
                              15
                                   apply to all Class Members. (Id. at p. 6-7.) The Court further indicated that the Plaintiffs’
                              16
                                   claims were typical of all putative Class Members, because their claims arise out of the
                              17
                                   same underlying policies and practices as the claims pertaining to the entire Settlement
                              18
                                   Class, and because the Parties had not identified any defenses unique to the Class
                              19
                                   Representatives. (Id., at p. 7-8.) Finally, the Court indicated that the adequacy requirement
                              20
                                   was met because there is no conflict of interest amongst the Class Representatives, Class
                              21
                                   Members, or Class Counsel, and because there is no reason to believe that the Class
                              22
                                   Representatives or Class Counsel have failed to vigorously investigate or litigate the case.
                              23
                                   (Id., at p. 7-8.)
                              24
                                          There have been no subsequent developments that would cast doubt on the Court’s
                              25
                                   prior determinations in regard to each of these factors. Plaintiffs therefore request that the
                              26
                                   Court affirm its certification of the Settlement Class for purposes of settlement only.
                              27
                                   ///
                              28
                                                                                  2
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                               1     III.   ADEQUACY OF THE NOTICE
                               2        The Court must also determine that the Class received adequate notice. Hanlon v.
                               3 Chrysler Corp., 150 F.3d 1011, 1025 (9th Cir. 1998), overruled on other grounds by

                               4 WalMart Stores, Inc. v. Dukes, 564 U.S. 338 (2011). “Adequate notice is critical to court

                               5 approval of a class settlement under Rule 23(e).”

                               6        Rule 23(c)(2)(B) requires that the Parties use “the best notice that is practicable
                               7 under the circumstances, including individual notice to all members who can be identified

                               8 through reasonable effort.” The Court found the Parties’ proposed notice procedures to be

                               9 in compliance with Rule 23, and approved the Parties’ Proposed Notice and notice plan.

                              10 (ECF No. 44, at p. 17-18; ECF No. 46) The Parties, with assistance from Rust, followed

                              11 the notice procedure laid out in the Court’s Orders and provided the Class with the best
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                              12 notice practicable.

                              13        The Parties worked closely with Rust to carry out the Court-approved notice
                              14 program and to locate the best possible mailing address for each Class Member. (Hollis

                              15 Decl., at ¶ 18.) In accordance with the Settlement terms, Defendant transmitted the Class

                              16 List to Rust on August 5, 2020, and Rust performed both the NCOA and Accurint address

                              17 searches prior to the initial mailing of the Class Notice. (Hollis Decl., at ¶ 22; Declaration

                              18 of Chris Pikus for Rust Consulting, Inc. (“Pikus Decl.”), at ¶¶ 7-8.) On August 27, 2020,
                              19 Rust mailed the Class Notice to the 6,922 Class Members identified by Defendant to each

                              20 Class Member’s updated mailing address, if one was identified, via First Class U.S. Mail.

                              21 (Hollis Decl., at ¶ 23; Pikus Decl., at ¶ 9.) Included with the Class Notice was also the

                              22 FLSA Consent Form, providing Class Members the opportunity to opt in to the FLSA

                              23 release in order to obtain their pro rata share of the 5% portion of the Net Settlement

                              24 Amount set aside for the FLSA claims. (Hollis Decl., at ¶ 23; Pikus Decl., at ¶ 9.)

                              25        By October 26, 2020, Rust had performed 653 address traces on Class Notices which
                              26 were returned as undeliverable for a first time. (Hollis Decl., at ¶ 26; Pikus Decl., at ¶ 11.)

                              27 The address trace utilizes the Class Member’s name, previous address, and Social Security

                              28 number to locate a current address. (Hollis Decl., at ¶ 26; Pikus Decl., at ¶ 11.) Of the 653
                                                                              3
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                               1 initial address traces performed, 549 updated addresses were obtained, and the Class

                               2 Notices were promptly re-mailed to those Class Members via First Class mail. (Hollis

                               3 Decl., at ¶ 26; Pikus Decl., at ¶ 11.) Of the 549 Class Notices which were re-mailed, 98

                               4 were returned as undeliverable a second time. (Hollis Decl., at ¶ 26; Pikus Decl., at ¶ 11.)

                               5 As of October 26, 2020, here were also 196 Class Notices returned which included a

                               6 forwarding address. (Hollis Decl., at ¶ 26; Pikus Decl., at ¶ 12.) These Class Notices were

                               7 promptly re-mailed to the forwarding address. (Hollis Decl., at ¶ 26; Pikus Decl., at ¶ 12.)

                               8 As of the date of filing the instant motion, only 202 out of 6,922 Class Notices remain

                               9 undeliverable. (Hollis Decl., at ¶ 27; Pikus Decl., at ¶ 11.)

                              10         Ultimately, the Class Notice was successfully delivered to 6,720 of the 6,922 Class
                              11 Members, a successful delivery rate of approximately 97%. (Hollis Decl., at ¶ 37; Pikus
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                              12 Decl., at ¶¶ 11, 14-15.) The Class Notices were mailed via First Class U.S. Mail, and

                              13 explicitly disclosed the Maximum Settlement Amount as well as the amounts requested for

                              14 settlement administration costs, Class Representative service awards, attorney’s fees and

                              15 costs, and the PAGA payment to the LWDA. (Hollis Decl., at ¶ 28; Pikus Decl., at ¶ 9.) The

                              16 Class Notice explicitly indicated that Class Counsel would seek 30% of the Maximum

                              17 Settlement Amount, or $600,000.00 in attorney’s fees, which was to be deducted from the

                              18 Maximum Settlement Amount. (Hollis Decl., at ¶ 29.) The Class Notice also explained the
                              19 claims that would be released by the Class upon final approval of the Settlement and

                              20 specifically highlighted the estimated Individual Settlement Payment that the particular

                              21 Class Member would receive. (Hollis Decl., at ¶ 30.) Tellingly, not a single Class Member

                              22 submitted an objection or requested exclusion from the Settlement. (Hollis Decl., at ¶ 41;

                              23 Pikus Decl., at ¶¶ 14-15.)

                              24     IV.    RULE 23 FAIRNESS FACTORS
                              25         A settlement may be approved if it is “fair, reasonable and adequate.” (Fed. R. Civ.
                              26 P. 23(e)(2).) Courts generally evaluate the following factors to determine whether a

                              27 settlement is fair, reasonable, and adequate:

                              28 / / /
                                                                                 4
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                               1                (1) the strength of plaintiff’s case; (2) the risk, expense,
                                                complexity, and likely duration of further litigation; (3) the risk
                               2                of maintaining class action status throughout the trial; (4) the
                                                amount offered in settlement; (5) the extent of discovery
                               3                completed and the state of the proceedings; (6) the experience
                                                and views of counsel (7) the presence of a governmental
                               4                participant; and (8) the reaction of the class members of the
                                                proposed settlement.
                               5
                                   In re Bluetooth Headset Prods. Liab. Litig., 654 F.3d 935, 946 (9th Cir. 2011) (quoting
                               6
                                   Churchill Vill., LLC v. Gen Elec., 361 F.3d 566, 575 (9th Cir. 2004)).) See also Hanlon,
                               7
                                   150 F.3d at 1026. This determination is committed to the sound discretion of the trial judge.
                               8
                                   Id. “Where a settlement is the product of arms-length negotiations conducted by capable
                               9
                                   and experienced counsel, the court begins its analysis with a presumption that the
                              10
                                   settlement is fair and reasonable.” Garner v. State Farm Mut. Auto Ins. Co., No. CV 08
                              11
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                                   1365 CW (EMC), 2010 WL 1687832, *13 (N.D. Cal. Apr. 22, 2010) (quoting Brown v.
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                              12
                                   Hain Celestial Grp., Inc., No. 3:11-CV-03082-LB, 2016 WL 631880, at *5 (N.D. Cal. Feb.
                              13
                                   17, 2016)). “Additionally, there is a strong judicial policy that favors settlements,
                              14
                                   particularly where complex class action litigation is concerned.” In re Syncor ERISA Litig.,
                              15
                                   516 F.3d 1095, 1101 (9th Cir. 2008) (citing Class Pls. v. City of Seattle, 955 F.2d 1268,
                              16
                                   1276 (9th Cir. 1992)).
                              17
                                            a. The Fairness Factors Are Satisfied
                              18
                                         This Court considered the first seven factors listed above in its Preliminary Approval
                              19
                                   Order and found that each of them weighed in favor of approving the Settlement. (ECF No.
                              20
                                   44, at 12-14.) The eighth factor, the reaction of the class members to the proposed
                              21
                                   settlement, also weighs in favor of approving the Settlement.
                              22
                                                   i. The Strength of Plaintiff’s Case, and the Risk, Exposure,
                              23
                                                      Complexity, and Likely Duration of Further Litigation
                              24
                                         While the court is to consider the strength of a plaintiff’s case on the merits balanced
                              25
                                   against the amount offered in settlement, the court need not reach an ultimate conclusion
                              26
                                   about the merits of the dispute. Acosta v. Frito-Lay, Inc., 2018 U.S. Dist. LEXIS 75998
                              27
                                   *21 (N.D. Cal. May 4, 2018). Rather the court’s evaluation is “nothing more than an
                              28
                                                                                 5
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                               1 amalgam of delicate balancing, gross approximations and rough justice.” Officers for

                               2 Justice v. Civil Serv. Com., 688 F.2d 615, 625 (9th Cir. 1982) (citing Detroit v. Grinnell

                               3 Corp., 495 F.2d 448, 468 (2d Cir. 1974)). The reality is that “parties, counsel, mediators,

                               4 and district judges naturally arrive at a reasonable range of settlement by considering the

                               5 likelihood of a plaintiff’s or defense verdict, the potential recovery, and the chances of

                               6 obtaining it, discounted to present value.” Rodriguez v. West Publ’g Corp., 563 F.3d 948,

                               7 965 (9th Cir. 2009).

                               8        This Action alleges that Defendant failed to provide meal and rest periods; failed to
                               9 pay minimum, regular, and overtime wages; failed to pay accrued vacation wages; failed

                              10 to indemnify necessary business expenses; failed to provide accurate itemized wage

                              11 statements; failed to timely pay all wages due upon separation of employment; failed to
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                              12 produce employment records; violated California’s Unfair Competition Law; violated

                              13 California’s PAGA statute; and violated the Fair Labor Standards Act. (Hollis Decl., at ¶

                              14 31.) Plaintiffs believe each claim is meritorious, while Defendant denies any liability and

                              15 wrongdoing, and believes that its defenses have merit. (Hollis Decl., at ¶ 55). As such,

                              16 Plaintiffs recognize that further litigation of this class action would involve significant risk.

                              17 (Hollis Decl., at ¶ 56.) For example, Defendant argues that it provided Plaintiffs and Class

                              18 Members with compliant meal and rest breaks, that it provided work phones so that
                              19 employees did not need to use their personal cell phones, that it properly reimbursed Class

                              20 Members for any work-related use of their personal cell phones, that the time Class

                              21 Members spent obtaining and renewing security badges is non-compensable, that it strictly

                              22 prohibits any off-the-clock work, and that Plaintiffs’ claim regarding vacation pay is

                              23 preempted by the Labor Management Relations Act (“LMRA”). (Hollis Decl., at ¶ 56.) In

                              24 short, Defendant maintains that it did not engage in and cannot be liable for any Labor

                              25 Code, Wage Order, or FLSA violations alleged by Plaintiffs and Class Members. (Hollis

                              26 Decl., at ¶ 56.)

                              27        If Defendant received a favorable ruling on any of its contentions, Class Members
                              28 could recover substantially less than the Maximum Settlement Amount and possibly not
                                                                             6
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                               1 receive any recovery at all, particularly pursuant to PAGA under which recovery is

                               2 discretionary. (Hollis Decl., at ¶ 58.) Even if Plaintiffs succeeded at trial, Defendant may

                               3 appeal any adverse judgment, and has indicated that it would actively oppose class

                               4 certification. (Hollis Decl., at ¶ 58.) The time, expenses, and resources needed to continue

                               5 litigating this Action, including any future appeals, would potentially outweigh any

                               6 benefits offered to the Class Members. (Hollis Decl., at ¶ 58.) Given the challenges

                               7 Plaintiffs would continue to face in this Action compared with the finality and speed of

                               8 recovery under the Settlement, approval of the Settlement is favorable to continued

                               9 litigation. (Hollis Decl., at ¶ 59.) The Parties have acknowledged the risks involved in

                              10 Plaintiffs’ case, and have reached a settlement that will afford all Class Members

                              11 significant recovery.
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                              12        In its Preliminary Approval Order, the Court found these factors to weigh in favor
                              13 of the Settlement being fair, reasonable, and adequate, and there have been no subsequent

                              14 developments that would cast doubt on the Court’s prior determination in regard to these

                              15 factors. (Preliminary Approval Order, p. 12.)

                              16                  ii. The Risk of Maintaining Class Action Status Throughout Trial
                              17        As this Court stated in its Preliminary Approval Order, Defendant has disputed
                              18 whether the Class can be validly certified in the absence of the Settlement, and has
                              19 implicitly indicated the likelihood of initial challenges to class certification and the

                              20 potential for decertification motions even if class certification were granted. (Preliminary

                              21 Approval Order, p. 12.) The class certification area is one that is particularly fraught at this

                              22 time due to the Supreme Court’s recent decisions, including Wal-Mart Stores, Inc. v.

                              23 Dukes, 564 U.S. 338 (2011), and lower courts’ often-conflicting interpretations of the

                              24 expansiveness of the same. If certification is granted, Plaintiffs will likely have to expend

                              25 the time and resources to combat a motion to decertify and/or motion for summary

                              26 judgment. (Hollis Decl., at ¶ 60.) Additionally, Plaintiffs will have to demonstrate through

                              27 trial that the case is in fact manageable. (Hollis Decl., at ¶ 60.) Based on the foregoing,

                              28 there is no doubt that achieving and maintaining class certification throughout trial would
                                                                              7
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                               1 be difficult and would require significant time and financial resources. (Hollis Decl., at ¶

                               2 60.) Therefore, settlement is favorable to continued litigation. The settlement here obviates

                               3 the need for highly contested class certification and decertification motions or further

                               4 litigation on appeal.

                               5        In its Preliminary Approval Order, the Court found this factor to weigh in favor of
                               6 the Settlement being fair, reasonable, and adequate, and there have been no subsequent

                               7 developments that would cast doubt on the Court’s prior determination in regard to this

                               8 factor. (Preliminary Approval Order, p. 12.)

                               9                   iii. Amount Offered in Settlement
                              10        In determining whether the amount offered in settlement is fair, a court should look
                              11 at the settlement as a whole. Officers for Justice, 688 F.2d at 628. Additionally, a proposed
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                              12 settlement may be acceptable even though it amounts to only a fraction of the potential

                              13 recovery available at trial. Nat’l Rural Telecomms. Coop. v. DIRECTV, Inc., 221 F.R.D.

                              14 523, 527 (C.D. Cal. 2004).

                              15        In this case, the Parties have agreed to a non-reversionary Maximum Settlement
                              16 Amount of $2,000,000.00. (Hollis Decl., at ¶ 50; SA, at § 1.20.) Based on Class Counsel’s

                              17 evaluation of the case, Defendant’s maximum potential exposure to damages was estimated

                              18 to be $147,559,515.26. However, this estimate is based on an inflated “everything goes
                              19 right” scenario where class certification is granted and maintained throughout litigation,

                              20 and that Plaintiffs prevail on all claims at trial and recover the full amount of the estimated

                              21 damages, including all potential civil penalties. (Hollis Decl., at ¶ 52.) Thus, while the

                              22 Settlement represents a discount on the potential financial exposure to Defendant if

                              23 Plaintiffs established liability on all claims and recovered the full estimate of damages, this

                              24 compromise is reasonable given the substantial cost and uncertainty of continued litigation.

                              25 (Id., at ¶ 52.)

                              26        The Settlement commits Defendant to create a Maximum Settlement Amount, from
                              27 which Class Members will derive a significant financial recovery for their alleged damages

                              28 and extinguish the risks of continued litigation and any appeals that would likely be filed
                                                                               8
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                               1 following a judgment in Plaintiffs’ favor. (Hollis Decl., at ¶ 53.) Such developments would

                               2 likely result in a delay of several years before this case would be resolved, with no

                               3 guarantee of recovery. (Hollis Decl., at ¶ 53.)

                               4        The Settlement does not require Class Members to submit a claim. Each Class
                               5 Member who has not submitted a Request for Exclusion will be mailed a check

                               6 representing their Individual Settlement Payment, which shall be calculated based on the

                               7 number of workweeks worked during the Class Period. (SA, at § 4.3.) The Settlement

                               8 Administrator has calculated that there are 417,924.66 total Qualified Workweeks for the

                               9 Class. (Pikus Decl., ¶ 8.) With the Net Settlement Amount currently estimated to be

                              10 $1,291,000.00, this equates to approximately $3.09 per Qualified Workweek, with the

                              11 average Class Member estimated to receive approximately $186.50. (Hollis Decl., at ¶ 54.)
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                              12        This Court preliminarily approved the Settlement, ruling that in light of the risks of
                              13 continued litigation, the amount offered in the proposed Settlement is fair and reasonable,

                              14 and that this factor therefore weighs in favor of approval of the Settlement. (ECF No. 44,

                              15 p. 13.) Although the number of Class Members is higher than estimated in the Motion for

                              16 Preliminary Approval, the total number of Qualifying Workweeks within the Class Period

                              17 has not exceeded the Parties’ initial estimate of 400,000 by more than 10%. (Hollis Decl.,

                              18 at ¶ 32.) As such, Class Counsel does not believe the change in the number of Class
                              19 Members to be a substantial change which would cast doubt on the Court’s prior

                              20 determination in regard to this factor. (Hollis Decl., at ¶ 32.)

                              21                 iv. Extent of Discovery Completed and Stage of Proceedings
                              22        Both before and after filing the complaint in this matter, Class Counsel thoroughly
                              23 investigated and researched the claims in controversy, the potential defenses, and the

                              24 developing body of law related to the claims asserted. (Hollis Decl., at ¶ 42.) The Parties

                              25 exchanged extensive written discovery and took multiple depositions. (Hollis Decl., at ¶¶

                              26 83-84.) On August 6, 2019 the Parties participated in a day-long mediation with Mr.

                              27 Tripper Ortman, a well-respected neutral third-party mediator who specializes in resolving

                              28 employment class action matters including wage and hour violations. (Hollis Decl., at ¶
                                                                           9
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                               1 44.) Throughout this litigation, counsel for both Parties performed a significant amount

                               2 of work to fully evaluate the strength of the claims asserted. (Hollis Decl., at ¶ 43.) Based

                               3 on the information gathered during their investigation, Class Counsel prepared a

                               4 comprehensive damages analysis, which contained a detailed review of the records and

                               5 outlined the factual and legal issues presented by this litigation. (Hollis Decl., at ¶¶ 48,

                               6 52.) The Settlement is illustrative of the Parties’ considerable efforts to reach a mutually

                               7 agreeable compromise after contentious arm’s-length negotiations. (Hollis Decl., at ¶ 48.)

                               8           In its Preliminary Approval Order, this Court determined that both Parties entered
                               9 into the proposed Settlement with a strong working knowledge of the relevant facts, law,

                              10 and strengths and weaknesses of their claims and defenses, and that this factor therefore

                              11 weighs in favor of the Settlement as being fair, reasonable, and adequate. (ECF No. 44 p.
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                              12 13.) There have been no subsequent developments that would cast doubt on the Court’s

                              13 prior determination in regard to this factor.

                              14                    v. Experience and Views of Counsel
                              15           Competent counsel is generally better positioned than the courts to create a
                              16 settlement that fairly reflects each party’s expected outcome in litigation. (In re Pac.

                              17 Enters. Sec. Litig., 47 F.3d 373, 378 (9th Cir. 1995).)

                              18           Here, Class Counsel has significant wage and hour class action experience, and is
                              19 well positioned to give a reasonable and intelligent assessment of the Settlement, an

                              20 assessment which is entitled to due consideration. (Hollis Decl., at ¶¶ 10-14.) Class

                              21 Counsel strongly supports granting final approval. (Hollis Decl., at ¶ 14.) In its Preliminary

                              22 Approval Order, this Court determined that the presumption of reasonableness is warranted

                              23 due to Class Counsel’s extensive experience in complex California wage and hour

                              24 litigation. (Preliminary Approval Order, p. 14.) There have been no subsequent

                              25 developments that would cast doubt on the Court’s prior determination in regard to this

                              26 factor.

                              27                   vi. Presence of a Governmental Participant
                              28           While there is no affirmative duty for a government entity to take action in response
                                                                                 10
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                               1 to a settlement, there is a presumption that the government entity will raise any concerns it

                               2 may have during the normal course of the settlement procedures once it is put on notice.

                               3 Garner v. State Farm Mutl. Auto. Ins. Co., 2010 WL 1687832 *37. Here, the appropriate

                               4 governmental entities were provided with proper notice of the Settlement. Defendant

                               5 complied with its obligation to notify the United States Attorney General and the California

                               6 Attorney General of the proposed Settlement under 28 U.S.C. 1715. (Declaration of Emily

                               7 Mertes in Support of Motion for Final Approval, at ¶ 3). Plaintiffs originally provided a

                               8 fully executed copy of the proposed Settlement to the LWDA on November 22, 2019.

                               9 (Hollis Decl., at ¶ 4.) On October 6, 2020, after the Court granted the Parties’ ex parte

                              10 motion to modify the Preliminary Approval Order, thereby modifying the definition of the

                              11 Class Period, Plaintiffs provided an updated copy of the proposed Settlement Agreement
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                              12 to the LWDA. (Hollis Decl., at ¶ 9.) To date, no government entity has raised any objection

                              13 or concern regarding the settlement. (Hollis Decl., at ¶ 5.) Further, in its Preliminary

                              14 Approval Order, this Court found that the lack of any governmental objection weighs in

                              15 favor of approval, and there have been no subsequent developments that would cast doubt

                              16 on the Court’s prior determination in regard to this factor. (ECF No. 44, p. 14.)

                              17                vii. Reaction of the Class Members to the Proposed Settlement
                              18        The Settlement was extremely well received by the Class, as evidenced by the fact
                              19 that no Class Members objected to or requested exclusion from the Settlement. (Hollis

                              20 Decl., at ¶ 37; Pikus Decl., at ¶¶ 14-15.) Class Counsel attributes the Class’s favorable

                              21 opinion of the Settlement to the fact that the Class Notice made it easy for Class Members

                              22 to understand the terms of the Settlement and ask questions if need be. (Hollis Decl., at ¶

                              23 39.) In addition, Class Counsel negotiated for the Class Notice to clearly indicate the

                              24 estimated Individual Settlement Payment that each Class Member was eligible to recover.

                              25 (Hollis Decl., at ¶ 35.) While this took more time and effort prior to mailing, providing the

                              26 estimated Individual Settlement Payment in the Class Notice allowed Class Members to

                              27 understand how much they may receive under the Settlement and make an informed

                              28 decision about whether to object or request exclusion. (Hollis Decl., at ¶ 35.) Thus, the lack
                                                                              11
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                               1 of any objections underscores the Class’s overwhelming support for the Settlement and

                               2 this factor also weighs in favor of approving the Settlement.

                               3              b. There Is No Evidence of Collusion
                               4        When a settlement is negotiated prior to class certification, courts must scrutinize
                               5 the fairness factors by probing whether the settlement is the result of collusion, and whether

                               6 class counsel has put their own self-interests or the interests of certain class members

                               7 before the class as a whole. In re Bluetooth Headset Prods. Liab. Litig., 654 F.3d at 946-

                               8 947. The court, therefore, should consider three warning signs of potential collusion:

                               9
                                        (1) When class counsel receives a disproportionate distribution of the
                              10        settlement, or when the class receives no monetary distribution but class
                                        counsel are amply rewarded; (2) When the parties negotiate a “clear sailing”
                              11
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                                        arrangement providing for the payment of attorneys’ fees separate and apart
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                              12        from the class funds without objection by defendant; and (3) When the parties
                                        arrange for fees not awarded to revert to defendants rather than be added to
                              13
                                        the class fund.
                              14        Id.
                              15 Since this Settlement was reached prior to class certification, the Court must scrutinize the

                              16 Settlement for evidence of collusion. Id. At 946.

                              17        As discussed in Plaintiffs’ Motion for Preliminary Approval and in the Declaration
                              18 of Graham S.P. Hollis filed concurrently herewith, Class Counsel thoroughly investigated
                              19 the facts and law at issue in this case, and did not engage in substantive settlement

                              20 negotiations until they had completed extensive discovery and possessed sufficient

                              21 information to make an informed decision. (Hollis Decl., at ¶ 42.) The Settlement was

                              22 negotiated with the assistance of a well-respected neutral third-party mediator, Mr. Tripper

                              23 Ortman, and at all times negotiations were adversarial, non-collusive, and at arm’s-length.

                              24 (Hollis Decl., at ¶ 48.)

                              25        The Settlement provides that Class Counsel may seek an award of attorney’s fees
                              26 not to exceed 30%, of $600,000.00, of the Maximum Settlement Amount. (SA, at § 4.4.)

                              27 The terms of the Settlement Agreement create a Net Settlement Amount of approximately

                              28
                                                                               12
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                               1 $1,291,000.00, which will be paid out to Participating Class Members. (SA, at § 1.21.) The

                               2 amount of attorney’s fees permitted by the Settlement Agreement is therefore significantly

                               3 less than the estimated total pay out to Participating Class Members. Further, the amount

                               4 of attorney’s fees requested is less than Class Counsel’s lodestar calculated to date,

                               5 demonstrating that in no way are the terms of the Settlement collusive or meant to unjustly

                               6 enrich Class Counsel. (Hollis Decl., at ¶¶ 74-75.)

                               7          While the Settlement Agreement does state that “Defendant agrees to not object to
                               8 Class Counsel’s request for fees and costs as long as the request is consistent with the terms

                               9 of this Stipulation,” this statement is far from the type of “clear sailing” provision of which

                              10 the Court may be critical. (SA, at § 4.4.) For example, here the Settlement is not

                              11 conditioned upon the Court approving the full amount of Class Counsel’s requested fees
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                              12 and costs, and if the amount awarded to Class Counsel is less than the amount sought the

                              13 remainder will be retained in the Net Settlement Amount for distribution to Participating

                              14 Class Members. (SA, at § 4.4.)

                              15          Moreover, any unpaid funds do not revert back to Defendant but will be distributed
                              16 to an appropriate cy pres recipient. (SA, at § 9).

                              17          It is therefore evident from the terms of the Settlement and the Parties’ engagement
                              18 in private mediation with a neutral third-party mediator that the negotiations were
                              19 adversarial, informed, and non-collusive. For the reasons stated herein, this Court should

                              20 confirm its approval the Settlement.

                              21     V.      THE FLSA SETTLEMENT SHOULD RECEIVE FINAL APPROVAL
                              22          When examining the settlement of a collective action under the FLSA, the court
                              23 assesses whether the settlement “is a fair and reasonable resolution of a bona fide dispute

                              24 over FLSA provisions.” Camilo v. Ozuna, 2019 U.S. Dist. LEXIS 83794 *30 (N.D. Cal.

                              25 May 16, 2019) (citing Lynn’s Food Stores, Inc. v. United States, 679 F.2d 1350, 1355 (11th

                              26 Cir. 1982)). If the settlement is a reasonable compromise of issues in dispute, the court

                              27 “may approve the settlement in order to promote the policy of encouraging settlement of

                              28 litigation.” (Id.)
                                                                                13
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                               1        Here, the FLSA settlement represents a great benefit to Class Members. Five percent
                               2 (5%) of the Net Settlement Amount, or approximately $64,550.00, will be allocated to

                               3 Class Members who opted in to the FLSA release by timely submitting their FLSA Consent

                               4 Form. (SA, at § 4.3€.) Class Members who did not timely submit his or her FLSA Consent

                               5 Form will receive 95% of his or her proportionate share of the Net Settlement Amount, and

                               6 that Class Member’s FLSA claims will not be released. (SA, at § 4.3€.) Any unclaimed

                               7 FLSA allocations shall be redistributed pro-rata among all Participating Class Members.

                               8 (SA, at § 4.3€.) No claim form needed to be submitted to receive an Individual Settlement

                               9 Payment not tied to the FLSA release.

                              10        Due to the similarities between the class claims and the FLSA claims and the risks
                              11 associated with litigating complex actions, such as preserving manageability, the FLSA
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                              12 Settlement is also fair, reasonable, and adequate. This Court preliminarily approved the

                              13 form and substance of the FLSA Collective Action Member Consent To Join Form which

                              14 was sent to Class Members. To date 902 valid and executed FLSA Consent Forms have

                              15 been submitted. (Hollis Decl., at ¶ 38; Pikus Decl., at ¶ 13.) This Court should confirm its

                              16 previous ruling that the FLSA Settlement is fair, reasonable and adequate.

                              17     VI.   THE PAGA ALLOCATION SHOULD RECEIVE FINAL APPROVAL
                              18        The Settlement Agreement allocates $20,000.00 for civil penalties pursuant to
                              19 PAGA, with $15,000.00 (75%) being paid directly to the LWDA, and the remaining

                              20 $5,000.00 (25%) being retained in the Net Settlement Amount for distribution to

                              21 Participating Class Members. (SA, at § 4.6.) While Class Counsel estimated that Defendant

                              22 could be liable for up to $74,988,927.00 in civil penalties under PAGA, the proposed

                              23 allocation of $20,000.00 is an exceptional outcome in light of all known facts and

                              24 circumstances, as well as the fact that civil penalties under PAGA are discretionary. (Hollis

                              25 Decl., at ¶ 118.) Courts have consistently ruled that no part of a settlement must necessarily

                              26 be allocated and distributed to the LWDA. See, e.g., Smith v. Am. Greetings Corp., 2016

                              27 U.S. Dist. LEXIS 66247 (N.D. Cal. May 19, 2016) (granting final approval of class action

                              28 settlement allocating $37,500 of $4 million settlement to PAGA); Willner v. Manpower
                                                                            14
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                               1 Inc., 2015 U.S. Dist. LEXIS 80697 (N.D. Cal. June 20, 2015) (granting final approval of a

                               2 class settlement allocating $65,655 of $8.75 million settlement to PAGA); Chu v. Wells

                               3 Fargo Investments, LLC, 2011 U.S. Dist. LEXIS 15821 (N.D. Cal. Feb. 15, 2011)

                               4 (approving $10,000 PAGA allocation in $6.9 million settlement).

                               5        If a higher amount is allocated to the PAGA, the burden to pay civil penalties would
                               6 be shifted to the members of the Settlement Class because the higher allocation would

                               7 reduce the amount that the members of the Settlement Class would receive under the

                               8 Settlement. Although burden shifting may achieve the enforcement objective of the statute,

                               9 it would do so at the expense of the employees that the statute was designed to protect. The

                              10 proposed allocation of $20,000 to the PAGA, strikes a balance between the interest of all

                              11 the parties, including the LWDA and the general public, by penalizing the employer and
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                              12 providing relief to Participating Class Members. (Hollis Decl., at ¶ 119.) The Court should

                              13 confirm its previous ruling that the PAGA allocation is fair, adequate, and reasonable.

                              14     VII. CONCLUSION
                              15        For the reasons set forth herein, Plaintiffs request that this Court (1) finally approve
                              16 the settlement in this Action; (2) finally certify the Settlement Class for Settlement

                              17 purposes only; (3) approve the payment to the LWDA for PAGA penalties; and (4) enter

                              18 final judgment in this Action.
                              19
                                   Dated: November 23, 2020                    GRAHAMHOLLIS APC
                              20

                              21
                                                                         By: /s/David Lin
                              22                                             GRAHAM S.P. HOLLIS
                                                                             VILMARIE CORDERO
                              23                                             DAVID LIN
                                                                             Attorneys for Plaintiffs MARTA L CERON
                              24                                             DE OROZCO and EMMA BARCENAS
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                                                                                15
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